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Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTSERN DISTRICT OF NEW YORK

In re:
                                                           Chapter 11
ROCHESTER DRUG CO-OPERATIVE, INC.
                                                           Case No. 20-20230 (PRW)
                             Debtors.
                                                           (Jointly Administered)


Advisory Trust Group, LLC, as trustee of the RDC
LIQUIDATING TRUST,                                         Adv. Proc. No. 22-02052

                             Plaintiff,

         v.

IRONSHORE PHARMACEUTICALS, INC.,

                             Defendant.


                                  NOTICE OF DISMISSAL

         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, as made applicable herein by Rule 7041 of the Federal Rules of Bankruptcy

Procedure, Plaintiff, Advisory Trust Group, LLC, as trustee of the RDC Liquidating Trust,



DOCS_LA:342521.1 75015/003
     Case 2-22-02052-PRW, Doc 4, Filed 02/24/22, Entered 02/24/22 18:40:59,
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hereby dismisses, without prejudice, its Complaint against Ironshore Pharmaceuticals, Inc. (the

“Defendant”) in the above-captioned adversary proceeding. The Defendant has not filed an

answer, responsive pleading, or motion for summary judgment in this adversary proceeding.


 Dated: February 24, 2022                         PACHULSKI STANG ZIEHL & JONES LLP

                                                  /s/ Ilan D. Scharf
                                                  Bradford J. Sandler (NY Bar No. 4499877)
                                                  Ilan D. Scharf (NY Bar No. 4042107)
                                                  Jason S. Pomerantz (CA Bar No. 157216)
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